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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION



UNITED STATES OF AMERICA



                                                            CASE NO. 3:13CR172-005 (REP)
TIFFANY NICOLE CLAIR,
                       Defendant.
                                              )


         REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

       This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(1)(B) and (b)(3) upon

the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written

plea agreement that has been entered into by the United States and the Defendant. The matter

was presented to the court upon the written consent of the Defendant and counsel for the

Defendant to proceed before a United States Magistrate Judge, said consent including the

Defendant's understanding that he consented to not only having the Magistrate Judge conduct the
hearing and enter any order offorfeiture, ifapplicable, but also to having the Magistrate Judge
make necessary findings and accepting any guilty plea as may beentered that could not be

withdrawn except for fair and just reason.

       The Court accepted the Defendant's waiver of her right to proceed by Second

Superseding Indictment after specific inquiry' was made ofthe Defendant as to his understanding
ofthe right to require prosecution by indictment. The Defendant pled guilty to Count Is ofthe
Second Superseding Indictment in open court and pursuant to a Rule 11 inquiry. Upon

consideration of the responses and statements made by the Defendant under oath, on the record,

and based upon the written plea agreement and statement of facts presented, the court makes the
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